                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA


                                                      Case No. 5:23-CV-00579-M-KS

 In re Builders Mutual Data Security Incident
 Litigation                                           CONSOLIDATED CLASS ACTION
                                                      COMPLAINT

                                                      JURY TRIAL DEMANDED



       Plaintiffs Matthew Kocher, Mark Rogolino, and James Jackson (“Plaintiffs”), individually

and on behalf of all similarly situated persons, allege the following against Builders Mutual

Insurance Company and Builders Mutual Insurance Company, Inc. (collectively, “Builders

Mutual” or “Defendant”) based upon personal knowledge with respect to themselves and on

information and belief derived from, among other things, investigation by their counsel and review

of public documents as to all other matters:

                                      I.       INTRODUCTION

       1.       Plaintiffs bring this class action against Builders Mutual for its failure to properly

secure and safeguard Plaintiffs’ and other similarly situated individuals’ name, date of birth, Social

Security Number, and workers’ compensation information (the “Private Information” or “PII”)

from hackers.

       2.       Defendant, based in Raleigh, North Carolina, is a commercial insurance company.

As part of its business, and in order to earn profits, Defendant obtained and stored the Private

Information of Plaintiffs and “Class Members” (defined below).




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        3.      On or about September 29, 2023, Builders Mutual filed an official notice of data

security incident with the Maine Attorney General. 1 At or around this same time, it also sent out

data breach notice letters (the “Notice”) to individuals whose Private Information was

compromised as a result of the cyber-attack.

        4.      Based on the Notice, Builders Mutual detected unusual activity on some of its

computer systems on or around December 14, 2022 and launched an investigation that revealed an

unauthorized third parties had accessed certain files between December 14, 2022 and December

15, 2022 (“the Data Breach”). Yet, Builders Mutual waited nine months to notify the public,

including Plaintiffs and Class Members that they were at risk.

        5.       As a result of this delayed response, Plaintiffs and Class Members had no idea for

almost an entire year that their Private Information had been compromised, and that they were,

and continue to be, at significant risk of identity theft and various other forms of personal, social,

and financial harm. The risk will remain for their respective lifetimes.

        6.      The Data Breach impacted at least 64,761 individuals, including but not limited to,

Builders Mutual’s clients’ claimants, employees, and/or former employees.

        7.      The Private Information compromised in the Data Breach included highly sensitive

data that represents a gold mine for data thieves, including but not limited to, consumer names,

dates of birth, Social Security numbers, and workers’ compensation information that Builders

Mutual collected and maintained from its clients.

        8.      Armed with the Private Information accessed in the Data Breach, and a head start,

data thieves can commit a variety of crimes including, e.g., opening new financial accounts in

Class Members’ names, taking out loans in Class Members’ names, using Class Members’ names


1
 See https://apps.web.maine.gov/online/aeviewer/ME/40/7c0e9e65-75db-409b-9c1a-229ad57f85be.shtml (last
visited Dec. 26, 2023).

                                                     2

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to obtain medical services, using Class Members’ information to obtain government benefits, filing

fraudulent tax returns using Class Members’ information, obtaining driver’s licenses in Class

Members’ names but with another person’s photograph, and giving false information to police

during an arrest.

       9.      There has been no assurance offered by Defendant that all personal data or copies

of data have been recovered or destroyed, or that Defendant has adequately enhanced its data

security practices sufficient to avoid a similar breach of its network in the future.

       10.     Therefore, Plaintiffs and Class Members have suffered, and are at an imminent,

immediate, and continuing increased risk of suffering, ascertainable losses in the form of harm

from identity theft and other fraudulent misuse of their Private Information, out-of-pocket

expenses incurred to remedy or mitigate the effects of the Data Breach, and the value of their time

reasonably incurred to remedy or mitigate the effects of the Data Breach.

       11.     Plaintiffs bring this class action lawsuit to address Builders Mutual’s inadequate

safeguarding of Class Members’ Private Information that it collected and maintained, and its

failure to provide timely and adequate notice to Plaintiffs and Class Members of the types of

information that were accessed, and that such information was subject to unauthorized access by

cybercriminals.

       12.     The potential for improper disclosure and theft of Plaintiffs’ and Class Members’

Private Information was a known risk to Builders Mutual, and thus it was on notice that failing to

take necessary steps to secure the Private Information left it vulnerable to an attack.

       13.     Upon information and belief, Builders Mutual and its employees failed to properly

monitor its systems and implement adequate data security practices with regard to such systems

that housed the Private Information. Had Builders Mutual properly monitored its network systems



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and implemented such practices, it could have prevented the Data Breach or at least discovered it

sooner.

          14.   Plaintiffs’ and Class Members’ identities are now at risk because of Builders

Mutual’s negligent conduct as the Private Information that Builders Mutual collected and

maintained is now in the hands of data thieves and other unauthorized third parties.

          15.   Plaintiffs seek to remedy these harms on behalf of themselves and all similarly

situated individuals whose Private Information was accessed and compromised during the Data

Breach.

          16.   Accordingly, Plaintiffs, on behalf of themselves and the Class, assert claims for

Negligence, Negligence Per Se, Breach of Implied Contract, Breach of the Implied Covenant of

Good Faith and Fair Dealing, Breach of Fiduciary Duty, Breach of Third-Party Beneficiary

Contract, Unjust Enrichment, Violation of the North Carolina Unfair Trade Practices Act, and

Declaratory and Injunctive Relief.

                                         II.     PARTIES

          17.   Plaintiff Matthew Kocher is, and at all times mentioned herein was, an individual

citizen of the State of Florida.

          18.   Plaintiff Mark Rogolino is, and at all times mentioned herein was, an individual

citizen of the State of Florida.

          19.   Plaintiff James Jackson is, and at all times mentioned herein was, an individual

citizen of the State of Virginia.

          20.   Defendant, Builders Mutual Insurance Company, is the legal name of an insurance

company incorporated in North Carolina with its principal place of business at 5580 Centerview

Drive, Raleigh, North Carolina 27606 in Wake County.



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        21.     Defendant, Builders Mutual Insurance Company, Inc., is also believed to be the

same company, though operating under a different version of the corporate name and is the entity

that sent the Notice to Plaintiffs and the Class. Builders Mutual Insurance Company, Inc has its

principal place of business at 5580 Centerview Drive, Raleigh, North Carolina 27606.

                                III.    JURISDICTION AND VENUE

        22.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. Upon information and belief, the number of class members is over 100, many

of whom have different citizenship from Builders Mutual. Thus, minimal diversity exists under 28

U.S.C. § 1332(d)(2)(A).

        23.     This Court has jurisdiction over Builders Mutual because Builders Mutual operates

in and/or is incorporated in this District.

        24.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District and Builders Mutual

has harmed Class Members residing in this District.

                                 IV.     FACTUAL ALLEGATIONS

    A. Builders Mutual’s Business and Collection of Plaintiffs’ and Class Members’
       Private Information

        25.     Builders Mutual is a provider of commercial insurance products to the construction

industry in the Mid-Atlantic and Southeast. Founded in 1984, Builders Mutual works in connection

with its clients to provide insurance services to construction workers and claimants. Upon

information and belief, Builders Mutual employs more than 365 people and generates

approximately $384.1 million in annual revenue.




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           26.      As a condition of providing commercial insurance services and products, Builders

Mutual requires that its clients entrust it with highly sensitive consumer PII.

           27.      In its “Builders Mutual Privacy Notice,” Builders Mutual represents to its clients

and consumers that it “may share information about [consumers] in the normal course of

conducting insurance operations[.]” 2 However, disclosing information to unauthorized third

parties does not fall within the normal course of its insurance operations. Furthermore, Builders

Mutual states that “[w]e have security measures in place to protect the loss, misuse, and alteration

of information under our control.” 3

           28.      Because of the highly sensitive and personal nature of the information Builders

Mutual acquires and stores with respect to its clients’ claimants and/or current and former

employees, Builders Mutual, upon information and belief, promises to, among other things: keep

their Private Information private; comply with industry standards related to data security and the

maintenance of their Private Information; inform them of its legal duties relating to data security

and comply with all federal and state laws protecting their Private Information; only use and

release their Private Information for reasons that relate to the services it provides; and provide

adequate notice to them if their Private Information is disclosed without authorization.

           29.      By obtaining, collecting, using, and deriving a benefit from Plaintiffs’ and Class

Members’ Private Information, Builders Mutual assumed legal and equitable duties and knew or

should have known that it was responsible for protecting Plaintiffs’ and Class Members’ Private

Information from unauthorized disclosure and exfiltration.




2
    See https://www.buildersmutual.com/about/privacy (last visited Dec. 26, 2023).
3
    Id.

                                                           6

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       30.     Plaintiffs and Class Members and their respective institutions relied on Builders

Mutual to keep their Private Information confidential and securely maintained and to only make

authorized disclosures of this Information, which Defendant ultimately failed to do.

   B. The Data Breach and Builders Mutual’s Inadequate Notice to Plaintiffs and Class
      Members

       31.     According to Defendant’s Notice, it learned of unauthorized access to its computer

systems on December 14, 2022, with such unauthorized access having taken place between

December 14, 2022 and December 15, 2022.

       32.     Through the Data Breach, the unauthorized cybercriminal(s) accessed a cache of

highly sensitive Private Information, including but not limited to, Plaintiffs’ and Class Members’

Social Security numbers and workers’ compensation information.

       33.     On or about September 29, 2023, roughly nine months after Builders Mutual

learned that the Class’s Private Information was first accessed by cybercriminals, Builders Mutual

finally began to notify Plaintiffs and Class Members that its investigation determined that their

Private Information was affected.

       34.     Builders Mutual delivered the Notice to Plaintiffs and Class Members, alerting

them that their highly sensitive Private Information had been exposed in an “incident.”

       35.     In fact, Builders Mutual acknowledged that Plaintiffs and Class Members were at

imminent risk of identity theft, instructing them to “remain vigilant against incidents of identity

theft and fraud” and “to review [their] account statements, and to monitor [their] credit reports for

suspicious activity.”

       36.     The notice letter then attached some pages entitled “Steps You Can Take to Help

Protect Personal Information,” which listed time-consuming steps that victims of data security

incidents can take to mitigate the inevitable negative impacts of the Data Breach on their lives,


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such as getting a copy of a credit report, reviewing account statements, or notifying law

enforcement about suspicious financial account activity.

       37.     Other than providing one year of crediting monitoring for which Plaintiffs and

Class Members would have to affirmatively sign up, along with a call center number that victims

could contact with questions, Builders Mutual offered no substantive steps to help victims like

Plaintiffs and Class Members protect themselves. One year of credit monitoring is inadequate

considering the lifelong effects that Plaintiffs and Class Members are now facing.

       38.     On information and belief, Builders Mutual sent a similar generic letter to all

individuals affected by the Data Breach.

       39.     Builders Mutual had obligations created by contract, industry standards, and

common law to keep Plaintiffs’ and Class Members’ Private Information confidential and to

protect it from unauthorized access and disclosure.

       40.     Plaintiffs and Class Members provided their Private Information to Builders

Mutual’s clients with the reasonable expectation and mutual understanding that Builders Mutual

would comply with its obligations to keep such information confidential and secure from

unauthorized access and to provide timely notice of any security breaches.

       41.     Builders Mutual’s data security obligations were particularly important given the

substantial increase in cyberattacks in recent years. Builders Mutual knew or should have known

that its electronic records would be targeted by cybercriminals. However, even with these

obligations and this knowledge, it failed to safeguard the Private Information.

   C. Builders Mutual Failed to Comply with FTC Guidelines

       42.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision
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making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       43.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cybersecurity guidelines for businesses. The

guidelines note that businesses should protect the personal customer information that they keep,

properly dispose of personal information that is no longer needed, encrypt information stored on

computer networks, understand their network’s vulnerabilities, and implement policies to correct

any security problems. The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs, monitor all incoming traffic for activity indicating

someone is attempting to hack into the system, watch for large amounts of data being transmitted

from the system, and have a response plan ready in the event of a breach.

       44.     The FTC further recommends that companies not maintain personally identifiable

information (“PII”) longer than is needed for authorization of a transaction, limit access to sensitive

data, require complex passwords to be used on networks, use industry-tested methods for security,

monitor the network for suspicious activity, and verify that third-party service providers have

implemented reasonable security measures.

       45.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.



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        46.     As evidenced by the Data Breach, Builders Mutual failed to properly implement

basic data security practices. Builders Mutual’s failure to employ reasonable and appropriate

measures to protect against unauthorized access to and exfiltration of Plaintiffs’ and Class

Members’ Private Information constitutes an unfair act or practice prohibited by Section 5 of the

FTCA.

        47.     Builders Mutual was at all times fully aware of its obligation to protect the Private

Information of its claimants and/or its client’s current and former employees yet failed to comply

with such obligations. Defendant was also aware of the significant repercussions that would result

from its failure to do so.

    D. Builders Mutual Failed to Comply with Industry Standards

        48.     As noted above, experts studying cybersecurity routinely identify businesses as

being particularly vulnerable to cyberattacks because of the value of the Private Information which

they collect and maintain.

        49.     Some industry best practices that should be implemented by businesses like

Builders Mutual include but are not limited to: educating all employees, strong password

requirements, multilayer security including firewalls, anti-virus and anti-malware software,

encryption, multi-factor authentication, backing up data, and limiting which employees can access

sensitive data. As evidenced by the Data Breach, Defendant failed to follow some or all of these

industry best practices.

        50.     Other best cybersecurity practices that are standard in the industry include:

installing appropriate malware detection software; monitoring and limiting network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches, and routers; monitoring and protecting physical security systems; and training



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staff regarding these points. As evidenced by the Data Breach, Defendant failed to follow these

cybersecurity best practices.

       51.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       52.     Defendant failed to comply with these accepted standards, thereby permitting the

Data Breach to occur.

   E. Builders Mutual Breached its Duty to Safeguard Plaintiffs’ and Class Members’
      Private Information

       53.     In addition to its obligations under federal and state law, Builders Mutual owed a

duty to Plaintiffs and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the Private Information in its possession from being

compromised, lost, stolen, accessed, and misused by unauthorized persons. Builders Mutual owed

a duty to Plaintiffs and Class Members to provide reasonable security, including complying with

industry standards and requirements, training for its staff, and ensuring that its computer systems,

networks, and protocols adequately protected the Private Information of Plaintiffs and Class

Members.

       54.     Builders Mutual breached its obligations to Plaintiffs and Class Members and was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data. Builders Mutual’s unlawful conduct includes, but is not limited to, the following

acts and/or omissions:


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          a.   Failing to maintain an adequate data security system that would reduce the risk of

               data breaches and cyberattacks;

          b.   Failing to adequately protect Plaintiffs’ and Class Members’ Private Information;

          c.   Failing to properly monitor its own data security systems for existing intrusions;

          d.   Failing to sufficiently train its employees regarding the proper handling of

               Plaintiffs’ and Class Members’ Private Information;

          e.   Failing to fully comply with FTC guidelines for cybersecurity in violation of the

               FTCA;

          f.   Failing to adhere to industry standards for cybersecurity as discussed above; and

          g.   Otherwise breaching its duties and obligations to protect Plaintiffs’ and Class

               Members’ Private Information.

       55.     Builders Mutual negligently and unlawfully failed to safeguard Plaintiffs’ and Class

Members’ Private Information by allowing cyberthieves to access its computer network and

systems which contained unsecured and unencrypted Private Information.

       56.     Had Builders Mutual remedied the deficiencies in its information storage and

security systems, followed industry guidelines, and adopted security measures recommended by

experts in the field, it could have prevented intrusion into its information storage and security

systems and, ultimately, the theft of Plaintiffs’ and Class Members’ confidential Private

Information.

       57.     Accordingly, Plaintiffs’ and Class Members’ lives have been severely disrupted.

What’s more, they have been harmed as a result of the Data Breach and now face an increased risk

of future harm that includes, but is not limited to, fraud and identity theft.




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    F. Builders Mutual Should Have Known that Cybercriminals Target Highly Sensitive
       PII to Commit Fraud and Identity Theft

        58.      The FTC hosted a workshop to discuss “informational injuries,” which are injuries

that consumers like Plaintiffs and Class Members suffer from privacy and security incidents such

as data breaches or unauthorized disclosure of data. 4 Exposure of highly sensitive personal

information that a consumer wishes to keep private may cause harm to the consumer, such as the

ability to obtain or keep employment. Consumers’ loss of trust in e-commerce also deprives them

of the benefits provided by the full range of goods and services available which can have negative

impacts on daily life.

        59.      Any victim of a data breach is exposed to serious ramifications regardless of the

nature of the data that was breached. Indeed, the reason why criminals steal information is to

monetize it. They do this by selling the spoils of their cyberattacks on the black market to identity

thieves who desire to extort and harass victims or to take over victims’ identities in order to engage

in illegal financial transactions under the victims’ names.

        60.      Because a person’s identity is akin to a puzzle, the more accurate pieces of data an

identity thief obtains about a person, the easier it is for the thief to take on the victim’s identity or

to otherwise harass or track the victim. For example, armed with just a name and date of birth, a

data thief can utilize a hacking technique referred to as “social engineering” to obtain even more

information about a victim’s identity, such as a person’s login credentials or Social Security

number. Social engineering is a form of hacking whereby a data thief uses previously acquired




4
 FTC Information Injury Workshop, BE and BCP Staff Perspective, Federal Trade Commission, (October 2018),
available at https://www.ftc.gov/system/files/documents/reports/ftc-informational-injury-workshop-be-bcp-staff-
perspective/informational_injury_workshop_staff_report_-_oct_2018_0.pdf (last visited on Dec. 26, 2023).


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information to manipulate individuals into disclosing additional confidential or personal

information through means such as spam phone calls and text messages or phishing emails.

        61.      In fact, as technology advances, computer programs may scan the Internet with a

wider scope to create a mosaic of information that may be used to link compromised information

to an individual in ways that were not previously possible. This is known as the “mosaic effect.”

Names and dates of birth, combined with contact information like telephone numbers and email

addresses, are very valuable to hackers and identity thieves as it allows them to access users’ other

accounts.

        62.      Thus, even if certain information was not purportedly involved in the Data Breach,

the unauthorized parties could use Plaintiffs’ and Class Members’ Private Information to access

accounts, including, but not limited to, email accounts and financial accounts, to engage in a wide

variety of fraudulent activity against Plaintiffs and Class Members.

        63.      For these reasons, the FTC recommends that identity theft victims take several

time-consuming steps (similar to those suggested by Defendant in its Notice) to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert on their account (and an extended fraud alert that lasts for 7 years if

someone steals the victim’s identity), reviewing their credit reports, contacting companies to

remove fraudulent charges from their accounts, placing a freeze on their credit, and correcting their

credit reports. 5 However, these steps do not guarantee protection from identity theft but can only

mitigate identity theft’s long-lasting negative impacts.

        64.       Identity thieves can also use stolen personal information such as Social Security

numbers for a variety of crimes, including credit card fraud, phone or utilities fraud, bank fraud,


5
 See IdentityTheft.gov, Federal Trade Commission, available at https://www.identitytheft.gov/Steps (last visited
Dec. 26, 2023).

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to obtain a driver’s license or official identification card in the victim’s name but with the thief’s

picture, to obtain government benefits, or to file a fraudulent tax return using the victim’s

information. In addition, identity thieves may obtain a job using the victim’s Social Security

number, rent a house in the victim’s name, receive medical services in the victim’s name, and even

give the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name.

        65.      PII is data that can be used to detect a specific individual. PII is a valuable property

right. Its value is axiomatic, considering the value of big data in corporate America and the

consequences of cyber thefts (which include heavy prison sentences). Even this obvious risk-to-

reward analysis illustrates beyond doubt that PII has considerable market value.

        66.      The U.S. Attorney General stated in 2020 that consumers’ sensitive personal

information commonly stolen in data breaches “has economic value.” 6 The increase in

cyberattacks, and attendant risk of future attacks, was widely known and completely foreseeable

to the public and to anyone in Defendant’s industry.

        67.      The PII of consumers remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, PII can be sold at a price ranging from $40 to $200, and bank details

have a price range of $50 to $200. 7 Experian reports that a stolen credit or debit card number can




6
  See Attorney General William P. Barr Announces Indictment of Four Members of China’s
Military for Hacking into Equifax, U.S. Dep’t of Justice, Feb. 10, 2020, available at https://
www.justice.gov/opa/speech/attorney-general-william-p-barr-announces-indictment-fourmembers-china-s-military
(last visited on Dec. 26, 2023).
7
 Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16, 2019, available
at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/ (last visited on
Dec. 26, 2023).


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sell for $5 to $110 on the dark web and that the “fullz” (a term criminals who steal credit card

information use to refer to a complete set of information on a fraud victim) sold for $30 in 2017. 8

           68.      Furthermore, even information such as names, email addresses and phone numbers,

can have value to a hacker. Beyond things like spamming customers, or launching phishing attacks

using their names and emails, hackers, inter alia, can combine this information with other hacked

data to build a more complete picture of an individual. It is often this type of piecing together of

a puzzle that allows hackers to successfully carry out phishing attacks or social engineering attacks.

This is reflected in recent reports, which warn that “[e]mail addresses are extremely valuable to

threat actors who use them as part of their threat campaigns to compromise accounts and send

phishing emails.” 9

           69.      The Dark Web Price Index of 2022, published by PrivacyAffairs 10 shows how

valuable just email addresses alone can be, even when not associated with a financial account:




           70.      Beyond using email addresses for hacking, the sale of a batch of illegally obtained

email addresses can lead to increased spam emails. If an email address is swamped with spam, that

address may become cumbersome or impossible to use, making it less valuable to its owner.



8
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6, 2017, available at:
https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-on-the-
dark-web/ (last visited on Dec. 26, 2023).
9
  See https://www.magicspam.com/blog/dark-web-price-index-the-cost-of-email-data/ (last visited on Dec. 26,
2023).
10
     See https://www.privacyaffairs.com/dark-web-price-index-2022/ (last visited on Dec. 26, 2023).


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           71.      Likewise, the value of PII is increasingly evident in our digital economy. Many

companies collect PII for the purposes of data analytics and marketing. These companies, collect

it to better target customers, and shares it with third parties for similar purposes. 11

           72.      One author has noted: “Due, in part, to the use of PII in marketing decisions,

commentators are conceptualizing PII as a commodity. Individual data points have concrete value,

which can be traded on what is becoming a burgeoning market for PII.” 12

           73.      Consumers also recognize the value of their personal information and offer it in

exchange for goods and services. The value of PII can be derived not only by a price at which

consumers or hackers actually seek to sell it, but rather by the economic benefit consumers derive

from being able to use it and control the use of it.

           74.      A consumer’s ability to use their PII is encumbered when their identity or credit

profile is infected by misuse or fraud. For example, a consumer with false or conflicting

information on their credit report may be denied credit. Also, a consumer may be unable to open

an electronic account where their email address is already associated with another user. In this

sense, among others, the theft of PII in the Data Breach led to a diminution in value of the PII.

           75.      Data breaches, like the one at issue here, damage consumers by interfering with

their fiscal autonomy. Any past and potential future misuse of Plaintiffs’ PII impairs their ability

to participate in the economic marketplace.

           76.      It must also be noted that there may be a substantial time lag between when harm

occurs and when it is discovered, and also between when PII and/or personal financial information




11
     See https://robinhood.com/us/en/support/articles/privacy-policy/ (last visited on Dec. 26, 2023).
12
  See John T. Soma, Corporate Privacy Trend: The “Value” of Personally Identifiable Information (‘PII’) Equals
the “Value” of Financial Assets, 15 Rich. J. L. & Tech. 11, 14 (2009).

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is stolen and when it is used. According to the U.S. Government Accountability Office, which

conducted a study regarding data breaches: 13

                 [L]aw enforcement officials told us that in some cases, stolen data
                 may be held for up to a year or more before being used to commit
                 identity theft. Further, once stolen data have been sold or posted on
                 the Web, fraudulent use of that information may continue for years.
                 As a result, studies that attempt to measure the harm resulting from
                 data breaches cannot necessarily rule out all future harm.

        77.      PII is such a valuable commodity to identity thieves that once the information has

been compromised, criminals often trade the information on the “cyber black market” for years.

        78.      As a result, Plaintiffs and Class Members are at an increased risk of fraud and

identity theft for many years into the future. Thus, Plaintiffs and Class Members have no choice

but to vigilantly monitor their accounts for many years to come.

     G. Plaintiffs’ and Class Members’ Damages

        Plaintiff Mark Rogolino’s Experience
        79.      Plaintiff Rogolino is unsure how Defendant obtained his Private Information, but

is sure of the damage that has taken place in his life as a result of the compromise of his Private

Information in the Data Breach, made possible by Defendant’s inadequate data security practices.

        80.      Plaintiff Rogolino received a Notice from Defendant in or around late September

2023 notifying him that Defendant compromised his “name, Social Security number, date of birth,

and worker’s compensation information.” See Notice of Data Privacy Event, attached hereto as

Exhibit A.

        81.      As a direct and proximate result of Builders Mutual’s actions and omissions,

Plaintiff has been harmed and is at an imminent, immediate, and continuing increased risk of harm,


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 Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown, GAO (June 2007), available at https://www.gao.gov/assets/270/262904.html (last visited Dec. 26, 2023).

                                                      18

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including but not limited to, having loans opened in his name, tax returns filed in his name, utility

bills opened in his name, credit card accounts opened in his name, and other forms of identity theft.

       82.     In fact, Plaintiff Rogolino has already suffered massive and in-depth identity theft

ranging from fraudulent government and employment benefit claims submitted in his name, to

thousands of dollars in unauthorized charges for utility services that Plaintiff never received.

       83.     Specifically, Plaintiff Rogolino has experienced unauthorized charges of $5,000 for

Verizon and $500 for T-Mobile services on a fraudulent financial account opened in his name. He

has received multiple alerts from Norton, Capital One, Experian, and Microsoft Defender notifying

him that his Private Information has been found on the dark web. Plaintiff Rogolino also received

notification from the IRS that fraudulent businesses were created in his name, along with multiple

individuals using his name to commit employment fraud.

       84.     Plaintiff Rogolino does not recall ever learning that his Social Security number was

compromised in a data breach incident—other than the breach at issue here.

       85.     As a result of the Data Breach and the direct harms suffered, Plaintiff Rogolino has

experienced mental and emotional stress. He has suffered from generalized fear, anxiety, and he

has experienced seizures stemming from the stress associated with the Data Breach. In response,

he has sought treatment from mental health and medical professionals—incurring additional out-

of-pocket costs.

       86.     Due to the substantial number of fraudulent transactions Plaintiff Rogolino has

already experienced, his credit score has been negatively impacted which directly affects his ability

to secure adequate housing.




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          87.   Further, as a direct and proximate result of Builders Mutual’s conduct, Plaintiff

Rogolino has spent over 100+ hours in lost time, $200 in out-of-pocket costs, and approximately

$496 in lost wages dealing with the effects of the Data Breach.

          Plaintiff Matthew Kocher’s Experience

          88.   Plaintiff Kocher is unsure how Defendant came to obtain his highly sensitive PII.

Upon information and belief, Defendant required that it obtain Plaintiff’s PII pursuant to—and to

facilitate—Defendant’s business of selling insurance within the construction industry. Details as

to how (and why) Defendant obtained and maintained Plaintiff’s PII can be discovered from

materials within Defendant’s custody and control. Nonetheless, Defendant obtained and

maintained control of Plaintiff’s PII and, as a result, Plaintiff Kocher suffered the harms alleged

herein.

          89.   Plaintiff Kocher trusted that an organization like Defendant who obtained and

maintained his highly sensitive PII would use reasonable measures to protect it according to

Defendant’s internal policies, as well as state and federal law. Defendant obtained and continues

to maintain Plaintiff’s PII and has a continuing legal duty and obligation to protect that PII from

unauthorized access and disclosure.

          90.   Plaintiff Kocher does not recall ever learning that his information was compromised

in a data breach incident—other than the breach at issue here.

          91.   Plaintiff Kocher received a Notice from Defendant in or around September 2023

notifying him that Defendant compromised his name, Social Security number, date of birth, and

worker’s compensation information. See Notice of Data Privacy Event, attached hereto as Exhibit

B.




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        92.     So far, Plaintiff Kocher has already suffered from identity theft and fraud.

Specifically, in September 2023, cybercriminals fraudulently charged his Bank of America Visa

card for movie tickets and purchases at the retail store, Lowe’s.

        93.     Thus, on information and belief, Plaintiff Kocher’s PII has already been

published—or will be published imminently—and misused by cybercriminals on the dark web.

        94.     Plaintiff Kocher has spent and will continue to spend significant time and effort

monitoring his accounts to protect himself from additional identity theft. After all, Defendant

directed Plaintiff to take those steps in its Notice.

        95.     Plaintiff Kocher fears for his personal financial security and worries about what

information was exposed in the Data Breach.

        96.     Because of Defendant’s Data Breach, Plaintiff Kocher has suffered—and will

continue to suffer from—anxiety, sleep disruption, stress, fear, and frustration. Such injuries go

far beyond allegations of mere worry or inconvenience. Rather, Plaintiff Kocher’s injuries are

precisely the type of injuries that the law contemplates and addresses.

        97.     Plaintiff Kocher suffered actual injury from the exposure, theft, and misuse of his

PII—which violates his right to privacy.

        98.     Plaintiff Kocher suffered actual injury in the form of damages to and diminution in

the value of his PII, which is a form of intangible property—property that Defendant was required

to adequately protect.

        Plaintiff James Jackson’s Experience

        99.     Plaintiff Jackson purchased workers compensation insurance through Defendant

approximately 15 years ago. Upon information and belief, Defendant required that it obtain

Plaintiff’s PII pursuant to—and to facilitate—Defendant’s business of selling insurance within the



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construction industry. Details as to how (and why) Defendant obtained and maintained Plaintiff’s

PII can be discovered from materials within Defendant’s custody and control. Nonetheless,

Defendant obtained and maintained control of Plaintiff’s PII and, as a result, Plaintiff Jackson

suffered the harms alleged herein.

       100.    Plaintiff Jackson trusted that an organization like Defendant who obtained and

maintained his highly sensitive PII would use reasonable measures to protect it according to

Defendant’s internal policies, as well as state and federal law. Defendant obtained and continues

to maintain Plaintiff’s PII and has a continuing legal duty and obligation to protect that PII from

unauthorized access and disclosure.

       101.    Plaintiff Jackson does not recall ever learning that his information was

compromised in a data breach incident—other than the breach at issue here.

       102.    Plaintiff Jackson received a Notice from Defendant in or around September 2023

notifying him that Defendant compromised his name, Social Security number, date of birth, and

worker’s compensation information. See Notice of Data Privacy Event, attached hereto as Exhibit

C.

       103.    So far, Plaintiff Jackson has already suffered from identity theft and fraud.

Specifically, in October 2023, Plaintiff Jackson was notified by Chase Bank via letter that an

unauthorized third party had applied for an Amazon Visa card using Jackson’s identity.

Furthermore, in November 2023, Plaintiff Jackson received a letter from the Social Security

Administration in response to an apparent request made by Plaintiff Jackson for Plaintiff Jackson’s

birthday. However, at no time did Plaintiff Jackson request the Social Security Administration

send a letter containing his birthday. Rather, hackers and others on the dark web seek Plaintiff

Jackson’s information in order to continue committing fraud using his identity.



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        104.    Plaintiff Jackson has suffered so many repeated attacks and hard credit inquiries

from unauthorized third parties that his credit score significantly dropped, starting around

September 2023, from the 700s to the 500s. Plaintiff Jackson’s credit is so badly damaged that he

was denied a simple gas card when he lawfully applied for credit with them on three different

occasions.

        105.    At one point, in or around October 2023, Plaintiff Jackson’s credit was frozen due

to the amount of hard inquiries on his credit.

        106.    Plaintiff Jackson further spent time speaking with Experian to alert them that a

$16,000 account opened under his name was not actually authorized, and to close said account.

        107.    Thus, on information and belief, Plaintiff Jackson’s PII has already been

published—or will be published imminently—and misused by cybercriminals on the dark web.

        108.    Plaintiff Jackson has spent and will continue to spend significant time and effort

monitoring his accounts to protect himself from additional identity theft. After all, Defendant

directed Plaintiff to take those steps in its Notice.

        109.    Plaintiff Jackson fears for his personal financial security and worries about what

information was exposed in the Data Breach.

        110.    Because of Defendant’s Data Breach, Plaintiff Jackson has suffered—and will

continue to suffer from—anxiety, sleep disruption, stress, fear, and frustration. Such injuries go

far beyond allegations of mere worry or inconvenience. Rather, Plaintiff Jackson’s injuries are

precisely the type of injuries that the law contemplates and addresses.

        111.    Plaintiff Jackson suffered actual injury from the exposure, theft, and misuse of his

PII—which violates his right to privacy.




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       112.    Plaintiff Jackson suffered actual injury in the form of damages to and diminution

in the value of his PII, which is a form of intangible property—property that Defendant was

required to adequately protect.

       113.    In sum, Plaintiffs and Class Members also face a substantial risk of being targeted

in future phishing, data intrusion, and other illegal schemes through the misuse of their Private

Information, since potential fraudsters will likely use such Private Information to carry out such

targeted schemes against Plaintiffs and Class Members.

       114.    The Private Information maintained by and stolen from Defendant’s systems,

combined with publicly available information, allows nefarious actors to assemble a detailed

mosaic of Plaintiffs and Class Members, which can be and have been used to carry out targeted

fraudulent schemes against Plaintiffs and Class Members.

       115.    Additionally, Plaintiffs and Class Members have spent and will continue to spend

significant amounts of time monitoring their accounts and records for misuse.

       116.    Finally, Plaintiffs and Class Members have suffered or will suffer actual injury as

a direct and proximate result of the Data Breach in the form of out-of-pocket expenses and the

value of their time reasonably incurred to remedy or mitigate the effects of the Data Breach. These

losses include, but are not limited to, the following:

                   a. Monitoring for and discovering fraudulent charges;

                   b. Canceling and reissuing credit and debit cards;

                   c. Purchasing credit monitoring and identity theft prevention;

                   d. Placing “freezes” and “alerts” with credit reporting agencies;

                   e. Spending time on the phone with or at a financial institution to dispute

                       fraudulent charges;



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                   f. Contacting financial institutions and closing or modifying financial

                       accounts;

                   g. Resetting automatic billing and payment instructions from compromised

                       credit and debit cards to new ones;

                   h. Paying late fees and declined payment fees imposed as a result of failed

                       automatic payments that were tied to compromised cards that had to be

                       cancelled; and

                   i. Closely reviewing and monitoring bank accounts and credit reports for

                       additional unauthorized activity for years to come.

       117.    Moreover, Plaintiffs and Class Members have an interest in ensuring that their

Private Information, which is believed to still be in the possession of Builders Mutual, is protected

from future additional breaches by the implementation of more adequate data security measures

and safeguards, including but not limited to, ensuring that the storage of data or documents

containing personal and financial information is not accessible online, that access to such data is

password-protected, and that such data is properly encrypted.

       118.    As a direct and proximate result of Builders Mutual’s actions and inactions,

Plaintiffs and Class Members have suffered a loss of privacy and have suffered cognizable harm,

including an imminent and substantial future risk of harm, in the forms set forth above.

                             V.     CLASS ACTION ALLEGATIONS

       119.    Plaintiffs bring this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

       120.    Specifically, Plaintiffs propose the following Nationwide Class (referred to herein

as the “Class”), subject to amendment as appropriate:


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                Nationwide Class
                All individuals in the United States who had Private Information
                accessed and/or acquired as a result of the Data Breach, including
                all who were sent a notice of the Data Breach.

        121.    Excluded from the Class are Defendant and its parents or subsidiaries, any entities

in which it has a controlling interest, as well as its officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any Judge to whom

this case is assigned as well as their judicial staff and immediate family members.

        122.    Plaintiffs reserve the right to modify or amend the definitions of the proposed

Nationwide Class and add subclasses before the Court determines whether certification is

appropriate.

        123.    The proposed Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

(b)(2), and (b)(3).

        124.    Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Though the exact number and identities of Class Members are unknown at this time,

based on information and belief, the Class consists of approximately 64,761 individuals whose

data was compromised in the Data Breach. The identities of Class Members are ascertainable

through Builders Mutual’s records, Class Members’ records, publication notice, self-

identification, and other means.

        125.    Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                      a. Whether Builders Mutual engaged in the conduct alleged herein;

                      b. When Builders Mutual learned of the Data Breach;

                      c. Whether Builders Mutual’s response to the Data Breach was adequate;

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        d. Whether Builders Mutual unlawfully lost or disclosed Plaintiffs’ and Class

           Members’ Private Information;

        e. Whether Builders Mutual failed to implement and maintain reasonable

           security procedures and practices appropriate to the nature and scope of the

           Private Information compromised in the Data Breach;

        f. Whether Builders Mutual’s data security systems prior to and during the

           Data Breach complied with applicable data security laws and regulations;

        g. Whether Builders Mutual’s data security systems prior to and during the

           Data Breach were consistent with industry standards;

        h. Whether Builders Mutual owed a duty to Class Members to safeguard their

           Private Information;

        i. Whether Builders Mutual breached its duty to Class Members to safeguard

           their Private Information;

        j. Whether hackers obtained Class Members’ Private Information via the Data

           Breach;

        k. Whether Builders Mutual had a legal duty to provide timely and accurate

           notice of the Data Breach to Plaintiffs and the Class Members;

        l. Whether Builders Mutual breached its duty to provide timely and accurate

           notice of the Data Breach to Plaintiffs and Class Members;

        m. Whether Builders Mutual knew or should have known that its data security

           systems and monitoring processes were deficient;

        n. What damages Plaintiffs and Class Members suffered as a result of Builders

           Mutual’s misconduct;



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                    o. Whether Builders Mutual’s conduct was negligent;

                    p. Whether Builders Mutual’s conduct was per se negligent;

                    q. Whether Builders Mutual was unjustly enriched;

                    r. Whether Plaintiffs and Class Members are entitled to actual and/or statutory

                        damages;

                    s. Whether Plaintiffs and Class Members are entitled to additional credit or

                        identity monitoring and monetary relief; and

                    t. Whether Plaintiffs and Class Members are entitled to equitable relief,

                        including   injunctive    relief,   restitution,    disgorgement,   and/or   the

                        establishment of a constructive trust.

        126.    Typicality. Plaintiffs’ claims are typical of those of other Class Members because

Plaintiffs’ Private Information, like that of every other Class Member, was compromised in the

Data Breach.

        127.    Adequacy of Representation. Plaintiffs will fairly and adequately represent and

protect the interests of Class Members. Plaintiffs’ counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        128.    Predominance. Builders Mutual has engaged in a common course of conduct

toward Plaintiffs and Class Members in that all of Plaintiffs’ and Class Members’ data was stored

on the same computer systems and unlawfully accessed and exfiltrated in the same way. The

common issues arising from Builders Mutual’s conduct affecting Class Members set out above

predominate over any individualized issues. Adjudication of these common issues in a single

action has important and desirable advantages of judicial economy.




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        129.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for Builders

Mutual. In contrast, conducting this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

        130.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). Builders

Mutual has acted and/or refused to act on grounds generally applicable to the Class such that final

injunctive relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.

        131.    Finally, all members of the proposed Class are readily ascertainable. Builders

Mutual has access to the names and addresses and/or email addresses of Class Members affected

by the Data Breach. Class Members have already been preliminarily identified and sent notice of

the Data Breach by Builders Mutual.

                                   VI.    CLAIMS FOR RELIEF

                                              COUNT I
                                           NEGLIGENCE
                          (On behalf of Plaintiffs and the Nationwide Class)

        132.    Plaintiffs restate and reallege all of the allegations stated above and hereafter as if

fully set forth herein.


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       133.    Builders Mutual knowingly collected, came into possession of, and maintained

Plaintiffs’ and Class Members’ Private Information, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting such Information from being disclosed, compromised, lost,

stolen, and misused by unauthorized parties.

       134.    Builders Mutual’s duty also included a responsibility to implement processes by

which it could detect and analyze a breach of its security systems quickly and to give prompt notice

to those affected in the case of a cyberattack.

       135.    Builders Mutual knew or should have known of the risks inherent in collecting the

Private Information of Plaintiffs and Class Members and the importance of adequate security.

Builders Mutual was on notice because, on information and belief, it knew or should have known

that it would be an attractive target for cyberattacks.

       136.    Builders Mutual owed a duty of care to Plaintiffs and Class Members whose Private

Information was entrusted to it. Builders Mutual’s duties included, but were not limited to, the

following:

               a. To exercise reasonable care in obtaining, retaining, securing, safeguarding,

                   deleting, and protecting Private Information in its possession;

               b. To protect Plaintiffs’ and Class Members’ Private Information using reasonable

                   and adequate security procedures and systems compliant with industry

                   standards;

               c. To have procedures in place to prevent the loss or unauthorized dissemination

                   of Private Information in its possession;

               d. To employ reasonable security measures and otherwise protect the Private

                   Information of Plaintiffs and Class Members pursuant to the FTCA;



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               e. To implement processes to quickly detect a data breach and to timely act on

                   warnings about data breaches; and

               f. To promptly notify Plaintiffs and Class Members of the Data Breach, and to

                   precisely disclose the type(s) of information compromised.

       137.    Builders Mutual’s duty to employ reasonable data security measures arose, in part,

under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . .

. practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       138.    Builders Mutual’s duty also arose because Defendant was bound by industry

standards to protect Plaintiffs’ and Class Members’ confidential Private Information.

       139.    Plaintiffs and Class Members were foreseeable victims of any inadequate security

practices on the part of Defendant, and Builders Mutual owed them a duty of care to not subject

them to an unreasonable risk of harm.

       140.    Builders Mutual, through its actions and/or omissions, unlawfully breached its duty

to Plaintiffs and Class Members by failing to exercise reasonable care in protecting and

safeguarding Plaintiffs’ and Class Members’ Private Information within its possession.

       141.    Builders Mutual, by its actions and/or omissions, breached its duty of care by failing

to provide, or acting with reckless disregard for, fair, reasonable, or adequate computer systems

and data security practices to safeguard the Private Information of Plaintiffs and Class Members.

       142.    Builders Mutual, by its actions and/or omissions, breached its duty of care by failing

to promptly identify the Data Breach and then failing to provide prompt notice of the Data Breach

to the persons whose Private Information was compromised.




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       143.    Builders Mutual breached its duties, and thus was negligent, by failing to use

reasonable measures to protect Class Members’ Private Information. The specific negligent acts

and omissions committed by Defendant include, but are not limited to, the following:

           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ Private Information;

           b. Failing to adequately monitor the security of its networks and systems;

           c. Failing to periodically ensure that its email system maintained reasonable data

               security safeguards;

           d. Allowing unauthorized access to Class Members’ Private Information;

           e. Failing to comply with the FTCA; and

           f. Failing to detect in a timely manner that Class Members’ Private Information had

               been compromised.

       144.    Builders Mutual acted with reckless disregard for the rights of Plaintiffs and Class

Members by failing to provide prompt and adequate individual notice of the Data Breach such that

Plaintiffs and Class Members could take measures to protect themselves from damages caused by

the fraudulent use of the Private Information compromised in the Data Breach.

       145.    Plaintiffs and Class Members were the foreseeable victims of any inadequate safety

and security practices on the part of Defendant. Plaintiffs and Class Members had no ability to

protect their Private Information that was in Defendant’s possession. As such, a special

relationship existed between Defendant and Plaintiffs and the Class.

       146.    Only Defendant was in a position to ensure that its systems and protocols were

sufficient to protect the Private Information that Plaintiffs and the Class had entrusted to it.




                                                  32

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          147.   Builders Mutual’s breach of duties owed to Plaintiffs and Class Members caused

Plaintiffs’ and Class Members’ Private Information to be compromised and exfiltrated as alleged

herein.

          148.   Builders Mutual’s breaches of duty also caused a substantial, imminent risk to

Plaintiffs and Class Members of identity theft, loss of control over their Private Information, and/or

loss of time and money to monitor their accounts for fraud.

          149.   As a result of Builders Mutual’s negligence in breach of its duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members are in danger of imminent harm in that their

Private Information, which is still in the possession of third parties, will be used for fraudulent

purposes.

          150.   As a direct and proximate result of Builders Mutual’s negligent conduct, Plaintiffs

and Class Members have suffered damages as alleged herein and are at imminent risk of further

harm. The injury and harm that Plaintiffs and Class Members suffered was reasonably foreseeable.

          151.   Plaintiffs and Class Members have suffered injury and are entitled to damages in

an amount to be proven at trial.

          152.   In addition to monetary relief, Plaintiffs and Class Members are also entitled to

injunctive relief requiring Builders Mutual to, inter alia, strengthen its data security systems and

monitoring procedures, conduct periodic audits of those systems, and provide lifetime credit

monitoring and identity theft insurance to Plaintiffs and Class Members.

                                            COUNT II
                                     NEGLIGENCE PER SE
                      (On Behalf of the Plaintiffs and the Nationwide Class)
          153.   Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.



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       154.    Pursuant to Section 5 of the FTCA, Builders Mutual had a duty to provide fair and

adequate computer systems and data security to safeguard the Private Information of Plaintiffs and

Class Members.

       155.    Builders Mutual breached its duties to Plaintiffs and Class Members under the

FTCA by failing to provide fair, reasonable, or adequate computer systems and data security

practices to safeguard Plaintiffs’ and Class Members’ Private Information.

       156.    Specifically, Builders Mutual breached its duties by failing to employ industry-

standard cybersecurity measures in order to comply with the FTCA, including but not limited to

proper segregation, access controls, password protection, encryption, intrusion detection, secure

destruction of unnecessary data, and penetration testing.

       157.    The FTCA prohibits “unfair . . . practices in or affecting commerce,” including, as

interpreted and enforced by the FTC, the unfair act or practice of failing to use reasonable measures

to protect PII (such as the Private Information compromised in the Data Breach). The FTC rulings

and publications described above, together with the industry-standard cybersecurity measures set

forth herein, form part of the basis of Builders Mutual’s duty in this regard.

       158.     Builders Mutual also violated the FTCA by failing to use reasonable measures to

protect the Private Information of Plaintiffs and the Class and by not complying with applicable

industry standards, as described herein.

       159.    It was reasonably foreseeable, particularly given the growing number of data

breaches of Private Information, that the failure to reasonably protect and secure Plaintiffs’ and

Class Members’ Private Information in compliance with applicable laws would result in an

unauthorized third-party gaining access to Builders Mutual’s networks, databases, and computers

that stored Plaintiffs’ and Class Members’ unencrypted Private Information.



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        160.    Plaintiffs and Class Members are within the class of persons that the FTCA are

intended to protect and Builders Mutual’s failure to comply with both constitutes negligence per

se.

        161.    Plaintiffs’ and Class Members’ Private Information constitutes personal property

that was stolen due to Builders Mutual’s negligence, resulting in harm, injury, and damages to

Plaintiffs and Class Members.

        162.    As a direct and proximate result of Builders Mutual’s negligence per se, Plaintiffs

and the Class have suffered, and continue to suffer, injuries and damages arising from the

unauthorized access of their Private Information, including but not limited to damages from the

lost time and effort to mitigate the actual and potential impact of the Data Breach on their lives.

        163.    As a direct and proximate result of Builders Mutual ’s negligent conduct, Plaintiffs

and Class Members have suffered injury and are entitled to compensatory and consequential

damages in an amount to be proven at trial.

        164.    In addition to monetary relief, Plaintiffs and Class Members are also entitled to

injunctive relief requiring Builders Mutual to, inter alia, strengthen its data security systems and

monitoring procedures, conduct periodic audits of those systems, and provide lifetime credit

monitoring and identity theft insurance to Plaintiffs and Class Members.

                                          COUNT III
                            BREACH OF IMPLIED CONTRACT
                       (On behalf of Plaintiffs and the Nationwide Class)

        165.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.

        166.    Through their course of conduct, Defendant, Plaintiffs, and Class Members entered

into implied contracts for Defendant to implement data security adequate to safeguard and protect

the privacy of Plaintiffs’ and Class Members’ PII.
                                                  35

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       167.    Defendant required Plaintiffs and Class Members to provide and entrust their PII

as a condition of obtaining Defendant’s services.

       168.    Defendant solicited and invited Plaintiffs and Class Members to provide their PII

as part of Defendant’s regular business practices. Plaintiffs and Class Members accepted

Defendant’s offers and provided their PII to Defendant.

       169.    Plaintiffs and Class Members, directly or indirectly, provided and entrusted their

PII to Defendant. In so doing, Plaintiffs and Class Members entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such non-public information, to

keep such information secure and confidential and to timely and accurately notify Plaintiffs and

Class Members if their data had been breached and compromised or stolen.

       170.    A meeting of the minds occurred when Plaintiffs and Class Members agreed to, and

did, provide their PII to Defendant, in exchange for, amongst other things, the protection of their

PII.

       171.    Plaintiffs and Class Members fully performed their obligations under the implied

contracts with Defendant.

       172.    Defendant breached the implied contracts it made with Plaintiffs and Class

Members by failing to safeguard and protect their PII and by failing to provide timely and accurate

notice to them that their PII was compromised because of the Data Breach.

       173.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiffs and Class Members have suffered and will continue to suffer: (i) ongoing,

imminent and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm, (ii) actual identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm, (iii) loss of the confidentiality of the stolen confidential data, (iv) the



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illegal sale of the compromised data on the dark web, (v) lost work time, and (vi) other economic

and non-economic harm.

                                  COUNT IV
  BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
               (On behalf of Plaintiffs and the Nationwide Class)

        174.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.

        175.    Every contract in this State has an implied covenant of good faith and fair dealing.

This implied covenant is an independent duty and may be breached even when there is no breach

of a contract’s actual and/or express terms.

        176.    Plaintiffs and Class Members have complied with and performed all conditions of

their contracts with Defendant.

        177.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard PII, failing to

timely and accurately disclose the Data Breach to Plaintiffs and Class Members, and continued

acceptance of PII and storage of other personal information after Defendant knew or should have

known of the security vulnerabilities of the systems that were exploited in the Data Breach.

        178.    Defendant acted in bad faith and/or with malicious motive in denying Plaintiffs and

Class Members the full benefit of their bargains as originally intended by the parties, thereby

causing them injury in an amount to be determined at trial.

                                               COUNT V
                                 BREACH OF FIDUCIARY DUTY
                           (On behalf of Plaintiffs and the Nationwide Class)

        179.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.



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        180.    In light of the special relationship between Defendant and Plaintiffs and Class

Members, whereby Defendant became the guardian of Plaintiffs’ and Class Members’ PII,

Defendant became a fiduciary by its undertaking and guardianship of the PII to act primarily for

Plaintiffs and Class Members, (i) for the safeguarding of Plaintiffs’ and Class Members’ PII, (ii)

to timely notify Plaintiffs and Class Members of a data breach and disclosure, and (iii) to maintain

complete and accurate records of what information (and where) Defendant did has and continues

to store.

        181.    Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class Members

upon matters within the scope of its relationship with its customers’ employees and former

employees—in particular, to keep their PII secure.

        182.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to diligently discover, investigate, and give notice of the Data Breach in a reasonable and

practicable period of time.

        183.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to encrypt and otherwise protect the integrity of the systems containing Plaintiffs’ and Class

Members’ PII.

        184.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to timely notify and/or warn Plaintiffs and Class Members of the Data Breach.

        185.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by

otherwise failing to safeguard Plaintiffs’ and Class Members’ PII.

        186.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiffs and Class Members have suffered and will continue to suffer injury, including but not

limited to: (i) actual identity theft, (ii) the compromise, publication, and/or theft of their PII, (iii)



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out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft

and/or unauthorized use of their PII, (iv) lost opportunity costs associated with effort expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching how to

prevent, contest, and recover from identity theft, (v) the continued risk to their PII, which remains

in Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII in its continued possession,

(vi) future costs in terms of time, effort, and money that will be expended as result of the Data

Breach for the remainder of the lives of Plaintiffs and Class Members, and (vii) the diminished

value of Defendant’s services they received.

        187.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                       COUNT VI
                BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
                    (On behalf of Plaintiffs and the Nationwide Class)

        188.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.

        189.    Defendant entered into contracts, written or implied, with its clients to perform

services that include, but are not limited to, providing staffing software and other services. Upon

information and belief, these contracts are virtually identical between and among Defendant and

its clients around the country whose claimants and/or current and former employees, including

Plaintiffs and Class Members, were affected by the Data Breach.

        190.    In exchange, Defendant agreed, in part, to implement adequate security measures

to safeguard the PII of Plaintiffs and the Class.
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        191.    These contracts were made expressly for the benefit of Plaintiffs and the Class, as

Plaintiffs and Class Members were the intended third-party beneficiaries of the contracts entered

into between Defendant and its clients. Defendant knew that if it were to breach these contracts

with its clients, then Plaintiffs and Class Members would be harmed.

        192.    Defendant breached the contracts it entered into with its clients by, among other

things, failing to (i) use reasonable data security measures, (ii) implement adequate protocols and

employee training sufficient to protect Plaintiffs’ Private Information from unauthorized

disclosure to third parties, and (iii) promptly and adequately detecting the Data Breach and

notifying Plaintiffs and Class Members thereof.

        193.    Plaintiffs and the Class were harmed by Defendant’s breach of its contracts with its

clients, as such breach is alleged herein, and are entitled to the losses and damages they have

sustained as a direct and proximate result thereof.

        194.    Plaintiffs and Class Members are also entitled to their costs and attorney’s fees

incurred in this action.

                                          COUNT VII
                                  UNJUST ENRICHMENT
                       (On behalf of Plaintiffs and the Nationwide Class)

        195.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.

        196.    This Count is pleaded in the alternative to Count VI above.

        197.    Plaintiffs and Class Members conferred a benefit on Builders Mutual by turning

over their Private Information to Defendant and utilizing its services directly or indirectly through

their respective employers to whom Plaintiffs and Class Members entrusted their Private

Information and who subsequently transmitted such Private Information to Defendant.



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       198.    As a result of Plaintiffs’ and Class Members’ use of Defendant’s services as set

forth herein, Defendant received monetary benefits and the use of the valuable Private Information

entrusted to it for business purposes and financial gain.

       199.    Defendant collected, maintained, and stored the Private Information of Plaintiffs

and Class Members and, as such, had direct knowledge of the monetary benefits conferred upon it

(including the use of the valuable Private Information for business purposes and financial gain) by

the entities that collected Plaintiffs’ and Class Members’ Private Information and that used

Defendant’s services.

       200.    Defendant, by way of its affirmative actions and omissions, including its knowing

violations of its express or implied contracts with the entities that collected Plaintiffs’ and Class

Members’ Private Information, knowingly and deliberately enriched itself by saving the costs it

reasonably and contractually should have expended on reasonable data privacy and security

measures to secure Plaintiffs’ and Class Members’ Personal Information.

       201.    Instead of providing a reasonable level of security, training, and protocols that

would have prevented the Data Breach, as described above and as is common industry practice

among companies entrusted with similar Private Information, Defendant, upon information and

belief, instead consciously and opportunistically calculated to increase its own profits at the

expense of Plaintiffs and Class Members.

       202.    If Plaintiffs and Class Members had known that Builders Mutual would not

adequately secure their Private Information, they would not have agreed to provide such Private

Information to Defendant.




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       203.    Due to Builders Mutual’s conduct alleged herein, it would be unjust and inequitable

under the circumstances for Builders Mutual to be permitted to retain the benefit of its wrongful

conduct.

       204.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and/or will suffer injury, including but not limited to: (i) actual identity

theft; (ii) the loss of the opportunity to control how their Private Information is used; (iii) the

compromise, publication, and/or theft of their Private Information; (iv) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, and/or unauthorized

use of their Private Information; (v) lost opportunity costs associated with effort expended and the

loss of productivity addressing and attempting to mitigate the actual and future consequences of

the Data Breach, including but not limited to efforts spent researching how to prevent, detect,

contest, and recover from identity theft; (vi) the continued risk to their Private Information, which

remains in Builders Mutual ’s possession and is subject to further unauthorized disclosures so long

as Builders Mutual fails to undertake appropriate and adequate measures to protect Private

Information in its continued possession; and (vii) future costs in terms of time, effort, and money

that will be expended to prevent, detect, contest, and repair the impact of the Private Information

compromised as a result of the Data Breach for the remainder of the lives of Plaintiffs and Class

Members.

       205.    Plaintiffs and Class Members are entitled to full refunds, restitution, and/or

damages from Builders Mutual and/or an order proportionally disgorging all profits, benefits, and

other compensation obtained by Builders Mutual from its wrongful conduct. This can be

accomplished by establishing a constructive trust from which Plaintiffs and Class Members may

seek restitution or compensation.



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       206.    Plaintiffs and Class Members may not have an adequate remedy at law against

Builders Mutual, and accordingly, they plead this claim for unjust enrichment in addition to, or in

the alternative to, other claims pleaded herein.

                                 COUNT VIII
   VIOLATION OF THE NORTH CAROLINA UNFAIR TRADE PRACTICES ACT
               (On behalf of Plaintiffs and the Nationwide Class)

       207.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein. Defendant advertised, offered, or sold goods or services in North Carolina and

engaged in trade or commerce directly or indirectly affecting the people of North Carolina, as

defined by N.C. Gen. Stat. Ann. § 75-1.1(b).

       208.    Defendant engaged in unfair and deceptive acts and practices in or affecting

commerce, in violation of N.C. Gen. Stat. Ann. § 75-1.1, including:

           a. Failing to implement and maintain reasonable security and privacy measures to

               protect Plaintiffs’ and Class Members’ PII, which was a direct and proximate cause

               of the Data Breach;

           b. Failing to identify foreseeable security and privacy risks, remediate identified

               security and privacy risks, and adequately improve security and privacy measures

               following previous cybersecurity incidents, which was a direct and proximate cause

               of the Data Breach;

           c. Failing to comply with common law and statutory duties pertaining to the security

               and privacy of Plaintiffs’ and Class Members’ PII, including duties imposed by the

               FTC Act, 15 U.S.C. § 45, the FCRA, 15 U.S.C. § 1681e, and the GLBA, 15 U.S.C.

               § 6801, et seq., which was a direct and proximate cause of the Data Breach;

           d. Omitting, suppressing, and concealing the material fact that it did not reasonably or

               adequately secure Plaintiffs’ and Class Members’ PII; and
                                                   43

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             e. Omitting, suppressing, and concealing the material fact that it did not comply with

                 common law and statutory duties pertaining to the security and privacy of

                 Plaintiffs’ and Class Members’ PII, including duties imposed by the FTC Act, 15

                 U.S.C. § 45, the FCRA, 15 U.S.C. § 1681e, and the GLBA, 15 U.S.C. § 6801, et

                 seq.

          209.   Defendant’s omissions were material because they were likely to deceive

reasonable consumers about the adequacy of Defendant’s data security and ability to protect the

confidentiality of consumers’ PII.

          210.   Defendant intended to mislead Plaintiffs and Class Members and induce them to

rely on its omissions.

          211.   Had Defendant disclosed to Plaintiffs and Class Members that its data systems were

not secure and, thus, vulnerable to attack, Defendant would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Defendant accepted the PII that Plaintiffs and Class Members entrusted to it while

keeping the inadequate state of its security controls secret from the public. Accordingly, Plaintiffs

and Class Members acted reasonably in relying on Defendant’s omissions, the truth of which they

could not have discovered through reasonable investigation.

          212.   Defendant acted intentionally, knowingly, and maliciously to violate North

Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiffs’ and Class Members’

rights.

          213.   As a direct and proximate result of Defendant’s unfair and deceptive acts and

practices, Plaintiffs and Class Members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including



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from fraud and identity theft; time and expenses related to monitoring their financial accounts for

fraudulent activity; an increased, imminent risk of fraud and identity theft; and loss of value of

their PII.

          214.   Defendant’s conduct as alleged herein was continuous, such that after the first

violations of the provisions pled herein, each week that the violations continued constitute separate

offenses pursuant to N.C. Gen. Stat. Ann. § 75-8.

          215.   And, on information and belief, Plaintiffs’ PII has already been published—or will

be published imminently—by cybercriminals on the dark web.

          216.   Plaintiffs and Class Members seek all monetary and non-monetary relief allowed

by law.

                                           COUNT IX
                               DECLARATORY JUDGMENT
                        (On behalf of Plaintiffs and the Nationwide Class)

          217.   Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully

set forth herein.

          218.   Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and to grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts that are tortious

and violate the terms of the FTCA as described in this Complaint.

          219.   Builders Mutual owes a duty of care to Plaintiffs and Class Members, which

required it to adequately secure Plaintiffs’ and Class Members’ Private Information.

          220.   Builders Mutual still possesses Private Information pertaining to Plaintiffs and

Class Members.

          221.   Plaintiffs allege that Builders Mutual’s data security measures remain inadequate.

Furthermore, Plaintiffs continue to suffer injury as a result of the compromise of their Private
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Information and the risk remains that further compromises of their Private Information will occur

in the future.

        222.          Under its authority pursuant to the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

            a. Builders Mutual owes a legal duty to secure its the Private Information under the

                   common law and Section 5 of the FTCA;

            b. Builders Mutual’s existing data security measures do not comply with its explicit

                   or implicit contractual obligations and duties of care to provide reasonable security

                   procedures and practices that are appropriate to protect Plaintiffs’ and Class

                   Members’ Private Information; and

            c. Builders Mutual continues to breach this legal duty by failing to employ reasonable

                   measures to secure Plaintiffs’ and Class Members’ Private Information.

        223.       This Court should also issue corresponding prospective injunctive relief requiring

Builders Mutual to employ adequate security protocols consistent with legal and industry standards

to protect its claimants’ and its clients’ current and former employees’ Private Information,

including the following:

            a. Order Builders Mutual to provide lifetime credit monitoring and identity theft

                   insurance to Plaintiffs and Class Members.

            b. Order that, to comply with Defendant’s explicit or implicit contractual obligations

                  and duties of care, Builders Mutual must implement and maintain reasonable

                  security measures, including, but not limited to:

                 i.          engaging third-party security auditors/penetration testers as well as internal

                             security personnel to conduct testing, including simulated attacks,



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                        penetration tests, and audits on Builders Mutual’s systems on a periodic

                        basis, and ordering Builders Mutual to promptly correct any problems or

                        issues detected by such third-party security auditors;

              ii.       engaging third-party security auditors and internal personnel to run

                        automated security monitoring;

              iii.      auditing, testing, and training its security personnel regarding any new or

                        modified procedures;

              iv.       segmenting its user applications by, among other things, creating firewalls

                        and access controls so that if one area is compromised, hackers cannot gain

                        access to other portions of Builders Mutual’s systems;

               v.       conducting regular database scanning and security checks;

              vi.       routinely and continually conducting internal training and education to

                        inform internal security personnel how to identify and contain a breach

                        when it occurs and what to do in response to a breach; and

            vii.        meaningfully educating Plaintiffs and Class Members about the threats they

                        face with regard to the security of their Private Information, as well as the

                        steps they should take to protect themselves.

       224.      If an injunction is not issued, Plaintiffs will suffer irreparable injury and will lack

an adequate legal remedy to prevent another data breach at Builders Mutual. The risk of another

such breach is real, immediate, and substantial. If another breach at Builders Mutual occurs,

Plaintiffs will not have an adequate remedy at law because many of the resulting injuries are not

readily quantifiable.




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       225.    The hardship to Plaintiffs if an injunction does not issue exceeds the hardship to

Builders Mutual if an injunction is issued. Plaintiffs will likely be subjected to substantial,

continued identity theft and other related damages if an injunction is not issued. On the other hand,

the cost of Builders Mutual’s compliance with an injunction requiring reasonable prospective data

security measures is relatively minimal, and Builders Mutual has a pre-existing legal obligation to

employ such measures.

       226.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing a subsequent data breach at

Builders Mutual, thus preventing future injury to Plaintiffs and others whose Private Information

would be further compromised.

                                  VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the Class described above, seek the

following relief:

           a. An order certifying this action as a Class action under Fed. R. Civ. P. 23, defining

               the Class as requested herein, appointing the undersigned as Class counsel, and

               finding that Plaintiffs are proper representatives of the Nationwide Class requested

               herein;

           b. Judgment in favor of Plaintiffs and Class Members awarding them appropriate

               monetary relief, including actual damages, statutory damages, equitable relief,

               restitution, disgorgement, and statutory costs;

           c. An order providing injunctive and other equitable relief as necessary to protect the

               interests of the Class as requested herein;




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   d. An order instructing Builders Mutual to purchase or provide funds for lifetime

      credit monitoring and identity theft insurance to Plaintiffs and Class Members;

   e. An order requiring Builders Mutual to pay the costs involved in notifying Class

      Members about the judgment and administering the claims process;

   f. A judgment in favor of Plaintiffs and Class Members awarding them prejudgment

      and post-judgment interest, reasonable attorneys’ fees, costs, and expenses as

      allowable by law; and

   g. An award of such other and further relief as this Court may deem just and proper.

                      VIII. DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all triable issues.


DATED: January 16, 2024.                 Respectfully submitted,

                                         /s/ Dana Smith
                                         Dana Smith, Bar No. 51015
                                         Mason A. Barney (pro hac vice)
                                         Tyler J. Bean (pro hac vice)
                                         SIRI & GLIMSTAD LLP
                                         745 Fifth Avenue, Suite 500
                                         New York, New York 10151
                                         Telephone: (212) 532-1091
                                         E: dsmith@sirillp.com
                                         E: mbarney@sirillp.com
                                         E: tbean@sirillp.com

                                         TURKE & STRAUSS LLP
                                         Samuel J. Strauss
                                         Raina Borrelli
                                         613 Williamson Street, Suite 201
                                         Madison, Wisconsin 53703
                                         Telephone: (608) 237-1775
                                         E: sam@turkestrauss.com
                                         E: raina@turkestrauss.com



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                               Daniel Srourian, Esq. (pro hac vice admission
                               forthcoming)
                               SROURIAN LAW FIRM, P.C.
                               3435 Wilshire Blvd. Suite 1710
                               Los Angeles, California 90010
                               Telephone: (213) 474-3800
                               E: daniel@slfla.com

                               Joel R. Rhine, NC SBN 16028
                               Martin A. Ramey, NC SBN 33617
                               Ruth A. Sheehan, NC SBN 48029
                               RHINE LAW FIRM, P.C.
                               1612 Military Cutoff Road, Suite 300,
                               Wilmington, NC 28403
                               Telephone: (910) 772-9960
                               Facsimile: (910) 772-9062
                               Phone: (910) 772-9960
                               jrr@rhinelawfirm.com
                               mjr@rhinelawfirm.com
                               ras@rhinelawfirm.com
                               ehw@rhinelawfirm.com

                               Attorneys for Plaintiffs and the Putative Class




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